     Case 3:23-cr-08132-JJT        Document 171         Filed 05/09/25     Page 1 of 4




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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF ARIZONA
10
11   United States of America,                                No. CR-23-08132-PCT-JJT
12                  Plaintiff,                          DEFENDANT’S OPPOSITION TO
                                                          GOVERNMENT’S MOTION
13          vs.                                            OPPOSING SEVERANCE
14   Donald Day, Jr.,

15                  Defendant.

16
17          Mr. Day respectfully urges the Court to deny the Government’s motion opposing
18   severance and to sever Count 3 from the trial on all other counts in this case.
19          Severing Count 3 will ensure Mr. Day receives a fair trial on the other counts.
20     I.   Severing Count 3 is legally justified and avoids unwarranted prejudice.
21          The Court can order severance of counts where joinder at trial “appears to
22   prejudice” the defendant. See Fed. R. Crim Pro 14(a). Rule 14 “leaves the tailoring of the
23   relief to be granted, if any, to the district court’s sound discretion.” Zafiro v. United States,
24   506 U.S. 534, 539 (1993).
25          The Court is already aware of the risk of prejudice that attaches when “trying a
26   felon in possession count together with other felony charges.” United States v. Nguyen,
27   88 F.3d 812, 815 (9th Cir. 1996). Indeed, “[a]ll of the Circuit Courts seem to agree” that
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     Case 3:23-cr-08132-JJT         Document 171            Filed 05/09/25   Page 2 of 4




 1   doing so “creates a very dangerous situation.” Id.; see, e.g., United States v. Jones, 16
 2   F.3d 487, 492 (2d Cir. 1994) (“Courts have held that joinder of an ex-felon count with
 3   other charges requires either severance, bifurcation, or some other effective ameliorative
 4   procedure.”); United States v. Joshua, 976 F.2d 844, 847 (3d Cir. 1992) (recognizing that
 5   severance is appropriate when government joins felon in possession count with other
 6   charges and evidence of prior convictions “would not be admissible on the other counts”);
 7   United States v. Dockery, 955 F.2d 50, 56 (D.C. Cir. 1992) (“[A] joint trial of ex-felon
 8   counts must be conducted with ‘sufficiently scrupulous regard for the defendant’s right
 9   to a fair trial.’”) (internal citation omitted).
10          To prove Count 3, in addition to proving that Mr. Day has a prior felony
11   conviction, the government has indicated it intends to introduce evidence of at least the
12   following:
13               A statement allegedly made by Mr. Day that he was an “x-con” who was
14                  “armed to the teeth”
15               At least four witnesses to testify about seeing Mr. Day possessing a gun.
16   None of that evidence would be admissible in a trial on the other counts; its admission at
17   trial will substantially prejudice Mr. Day.
18          The Court previously identified “strong limiting instructions” as a cure for the
19   prejudice that will attach by trying Count 3 with the other charges in this case. See Order
20   (Dkt. 128). But—because of the dissimilar nature of the various counts in this case—
21   limiting instructions are already carrying a great amount of prejudicial-weight.
22          The Court has ruled that, subject to limiting instructions, the government will be
23   permitted to introduce evidence concerning the Wieambilla shootings—a triple homicide,
24   for which Mr. Day is not responsible, which occurred 8,000 miles away, carried out by
25   people Mr. Day never met in person. See Order at 4-6 (Dkt 153). The Court has also ruled
26   that, subject to limiting instructions, the government may introduce evidence concerning
27   certain features of the Trains property, see id. at 7; and the government has already
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     Case 3:23-cr-08132-JJT           Document 171       Filed 05/09/25   Page 3 of 4




 1   indicated it intends to introduce evidence of the similarities between the Trains’ property
 2   and Mr. Day’s property.
 3          Adding the evidence the government intends to introduce to prove Count 3—
 4   evidence of Mr. Day’s alleged prior felony conviction and granular testimony about the
 5   weapons and firearms he allegedly possessed—is likely more prejudicial weight than
 6   even the strongest limiting instructions can bear.
 7   II.    The Court’s proposed procedure for severance will be the most fair and
 8          efficient way to conduct the trial.
 9          The Court indicated that it was considering severing Count 3, and having a trial on
10   Count 3 immediately following the conclusion of the trial on Counts 1, 2, 4, and 5, using
11   the same jury. If all counts proceed to trial, Mr. Day agrees that is likely the most fair and
12   efficient procedure for trial.
13          The government’s motion proposes bifurcating the single element of Mr. Day’s
14   status as a prior felon. But, as the government itself recognizes, bifurcation of elements
15   is disfavored. See Mot. at 3 (Dkt. 151). And, regardless, bifurcation of a single element is
16   not a suitable remedy because of the interrelationship between some of the evidence the
17   government intends to admit to prove Count 3. For example, Mr. Day’s alleged statement
18   that he is an “x-con” who is “armed to the teeth” is: (1) evidence of his alleged possession
19   of firearms; (2) evidence that he has a prior felony conviction (and his knowledge of it);
20   and (3) would not be admissible as evidence on any other count. Witnesses who would
21   testify about Mr. Day’s alleged possession of firearms likewise would not be admissible
22   as evidence at trial on the other counts. Bifurcating only Mr. Day’s prior felony conviction
23   does not solve this problem.
24          Finally, the government’s timing concern is easily resolved: at the outset of jury
25   selection, the Court can explain to prospective jurors that it is possible that the trial could
26   be longer than previously anticipated, and screen for hardship on that basis.
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     Case 3:23-cr-08132-JJT       Document 171        Filed 05/09/25   Page 4 of 4




 1          Overall, severing Count 3 is the only mechanism to ensure Mr. Day receives a
 2   fair trial. Mr. Day respectfully requests the Court do so.
 3          Respectfully submitted: May 9, 2025.
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 6
                                         s/Mark Rumold
 7                                       MARK RUMOLD
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